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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                               :
UNITED STATES OF AMERICA                       :       Case No.: 22-CR-32 (FYP)
                                               :
          v.                                   :       40 U.S.C. § 5104(e)(2)(G)
                                               :
BLAS SANTILLAN,                                :
                                               :
          Defendant.                           :
                                               :

                                  STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, BLAS SANTILLAN,

with the concurrence of his attorney, agree and stipulate to the below factual basis for the

defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

          1.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.      On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.      On January 6, 2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020

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Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session

began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

        5.      At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks as required by USCP officers or other authorized security

officials.

        6.      At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $1.4 million dollars for repairs.




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       7.       Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.


             BLAS SANTILLAN’s Participation in the January 6, 2021, Capitol Riot

       8.       The defendant, BLAS SANTILLAN, lives in Clayton, Georgia. On January 6,

2021, BLAS SANTILLAN was in Washington, D.C., after travelling from his home in Georgia.

The purpose of the defendant’s trip to Washington, D.C. was to protest Congress’ certification of

the Electoral College.

       9.       On January 6, 2021, at approximately, 2:46 p.m., just eight minutes after a wave of

rioters breached the Rotunda Doors, BLAS SANTILLAN pushed his way through the Rotunda

Doors of the Capitol Building, sliding past U.S. Capitol Police officers that were trying to prevent

the rioters who amassed outside from entering.

       10.      From approximately 2:46 p.m. to 3:10 p.m., BLAS SANTILLAN marched through

the Rotunda of the Capitol Building, often shouting, with dozens of other rioters. He remained in




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the Rotunda until Metropolitan Police officers showed up in riot gear to physically force the rioters

out of the Rotunda.

       11.     At approximately 4:24 p.m., after BLAS SANTILLAN had exited the Capitol

Building and law enforcement secured the Rotunda Doors, BLAS SANTILLAN remained outside

the Rotunda Doors with a large group of rioters. BLAS SANTILLAN shouted at the rioters and

encouraged them to enter the Capitol Building. Specifically, he shouted:

       It seems like you’re that weak, because I’m the only one that was willing to
       do something! I’m the only one that was willing to kick that door! Who
       else is willing to storm in there? No one! . . . Who are you! Who are you!
       You’re not America! You’re not America! . . . Americans do not sit by
       while people take your rights! You are lazy Americans! That is what you
       are! You are used to sitting on your couch, and watching your Netflix, and
       listening to your shows, and watching YouTube! You do not know what
       freedom is. . . . Freedom is doing what you want! Freedom! Let’s go! . . .
       Is this your house?
                                     Elements of the Offense

       12.     BLAS SANTILLAN knowingly and voluntarily admits to all the elements of 40

U.S.C. § 5104(e)(2)(G). Specifically, BLAS SANTILLAN admits that he willfully and knowingly

entered the U.S. Capitol Building knowing that that he did not have permission to do so. He further

admits that while inside the Capitol, he willfully and knowingly paraded, demonstrated, or

picketed.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052


                                      By:
                                              CHRISTOPHER D. AMORE
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